                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TENNESSEE
                                 AT GREENEVILLE

DANIEL M. TRUE, individually and,            )
as surviving spouse and next friend of       )
Teresa Fay True, deceased                    )
                                             )
        Plaintiff,                           )
                                             )
vs.                                          )             No. 2:07-cv-179
                                             )
STANDARD SECURITY LIFE                       )
INSURANCE COMPANY OF NEW                     )
YORK and HEALTH PLAN                         )
ADMINISTRATORS, INC.                         )
                                             )
        Defendants.                          )

                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

        Comes the Plaintiff, Daniel M. True, individually and as surviving spouse and next friend

of Teresa Fay True, deceased, and the Defendant, Standard Security Life Insurance Company of

New York and Healthplan Administrators, Inc. pursuant to Rule 41(a)(1) of the Federal Rules of

Civil Procedure, and stipulate that Plaintiff’s action against Defendant shall be DISMISSED WITH

PREJUDICE. Each party shall bear its own costs and no discretionary costs shall be assessed.

               Respectfully submitted this ___ day of ______________, 2008.


Ball & Scott                                        Kramer Rayson LLP

\s\ Thomas S. Scott, Jr.                            /s Beecher A. Bartlett, Jr.
Thomas S. Scott, Jr. (BPR #001086)                  Beecher A. Bartlett, Jr. (BPR #10198)
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